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                        EXHIBIT 4
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                      PEDOPHILIA: DIAGNOSTIC C O N C E P T S
                   TREATMENT, AND ETHICAL CONSIDERATIONS

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    Over the past decade we have become increasingly aware of the extent and
magnitude of the sexual victimization of children in our society and considerable efforts
have been made to offer help and assistance to these victims. However, to a large
extent, their perpetrators have been regarded more as offenders deserving punishment
than as persons needing help.

    This paper serves to broaden the base of our knowledge in regard to an adults
sexual attraction to a child and helps us differentiate between the perpetrator and his
offense. It is a conceptual work, exploring the nature of pedophilia, its etiology,
manifestation, diagnosis, and treatment which encompasses both clinical and ethical
considerations.

    To an issue fraught with myth, misconception, fear, hostility, and ignorance, Dr, Berlin
and Mr. Krouts paper brings clarity, order, understanding, and hope. It is only through
understanding and with understanding that we will find the way to help perpetrators
inhibit unwanted pedophilic inclinations. The sexual victimization of children is the abuse
of power. Knowledge is power, and through knowledge we are empowered to address
this problem and make our society a safer one for our children. This paper is an
important contribution to the sparse literature on a serious subject.

A Nicholas Groth, Ph.D., Co-Director, Sex Offender Program, State of Connecticut Dept.
of Correction, Somers State Prison.


                          T H E NATURE O F HUMAN SEXUALITY

    People do not decide voluntarily what will arouse them sexually. Rather in maturing
they discover the nature of their own sexual orientation and interests. Persons differ from
one another in terms of (a) the types of partners whom they find to be erotically
appealing, and (b) the types of behaviors that they find to l^e erotically appealing. They
also differ in intensity of sexual drive, the degree of difficulty that they experience in trying
to resist sexual temptations, and in their attitudes about whether or not such temptations
should be resisted.

     When persons experience erotic desires to engage in types of sexual behaviors that
 could cause themselves or other harm, such as sadistic, coercive or masochistic sexual
 involvements, psychiatric help may be needed. This may also be necessary when a

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person experiences strong erotic attractions towards unacceptable sexual partners, such
as children.

     Some psychiatric diagnoses can be made, then, simply by asking co-operative
persons aboirt the range of behaviors they find to be erotically appealing and about the
difficulty they experience in trying to resist succumbing to such sexual temptations. This
line of questioning can identify the person who meets the DSM III diagnostic criteria for
sexual exhibitionism, sexual sadism, sexual masochism, transvestism, and compulsive
voyeurism (American Psychiatric Association, 1978). Each of these represents an
unconventional form of sexual appetite. These men, unlike the average man, often
experience great difficulty resisting erotic temptations to repeatedly expose themselves,
to repeatedly have themselves beaten, or to repeatedly peep in windows, depending
upon the nature of their particular sexual compulsion. Masturbation cannot fully satisfy
these cravings because what they crave is not just sexual release, but a specific type of
sexual activity. Thus, although the average man is physically capable of exposing
himself publicly, he does not have to repeatedly fight off the urge to do so, as does the
exhibitionist, in order to stay out of trouble.

    Another way in which sexual problems possibly requiring psychiatric assistance can
be identified is by inquiring about the range and types of partners that a person finds to
be erotically appealing, and about how difficult it is to resist the temptation to become
involved sexually with such partners. Some men, for example, report that they are
attracted sexually to both children and adults, but that when they have a satisfying adult
relationship they are able to resist the temptation of becoming sexually intimate with a
child. Some such men, however, during periods of time in their lives when they do not
have a satisfying adult relationship do become involved sexually with children. Groth
(1979) refers to such men who find both adults and children to be erotically appealing
as regressed pedophiles. There are other men who experience absolutely no erotic
attraction whatsoever towards adults but who have a great deal of difficulty resisting the
sexual temptations that they experience towards children. Groth refers to these men as
fixated pedophiles.

    Pedophilia then is simply a term used to indicate that an adult finds children to be
sexually appealing. This condition seems to have been identified almost exclusively in
men. If a man is attracted sexually only to boys, a diagnosis of homosexual pedophilia
can be made, whereas if he is attracted only to girls, a diagnosis of heterosexual
pedophilia my be in order. If gender is not a factor, then the appropriate diagnosis is
bisexual pedophilia. As with other appetites, the pedophilic appetite craves satiation,
with recurrence of hunger an expected event.

   Some men who are attracted sexually to children desire not to be and would like to
change. Under such circumstances, their sexual attractions to children are said to be
ego-dystonic. If a man's sexual attraction towards children does not conflict with his
conscience and personal moral convictions, then his pedophilic desires are said to be

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 ego-syntonic. In very rare instances, some men experience erotically sadistic desires
 towards children. Under such circumstances, a diagnosis of sexual sadism should also
 be made.

    There are some men who find children to be somewhat appealing erotically but who,
 nevertheless, find it easy to resist becoming sexually involved. Such persons may not
 require professional assistance. Those who do experience difficulty resisting such
 temptations on their own, however, may require help.

     The following is a brief verbatim quote from a man whose sexual orientation can be
 characterized as ego-dystonic, fixated, homosexual pedophilic. The comments of this
 patient give some sense of how tortured and conflicted he feels by the sexual lusts and
 cravings that he experiences towards young boys.

    "What starts a person like myself dong what I do? Why me? Why can't I be normal
    like everybody else? You know, did God put this as a punishment or something
    towards me? I am ashamed. Why can't I just go out and have a good time with
    girls? I feel empty when a female is present. An older 'gay' person would turn me
    off. I have thought about suicide. I think after this long period of time, I have actually
    seen where I have an illness. It is getting uncontrollable to the point where I can't put
    up with it anymore. It is a sickness. I know it's a sickness. But as far as society is
    concerned, you are a criminal and should be punished. Even if I go to jail for twelve
    or fifteen years, or whatever, I am still going to be the same when I get out."

    This last statement was not meant to be defiant.


                     E T I O L O G Y OF PEDOPHILIC S E X U A L D E S I R E S

     It is a deeply rooted aspect of human nature that we experience desires to seek out
 a .partner with whom we can share tenderness, affection, comparwonship, and physical
 intimacy. Even in animals, one can observe the so-called mating instinct. People do not
 experience feelings of erotic love because it is intellectually rational to do so, or because
 they have been taught that it is sensible to do so. Rather, there is a certain "chemistry"
 involved. Most of us can describe attributes, both physical and psychological, that
 comprise our archetypical fantasies of an idealized partner or mate. In the overwhelming
 majority of cases, the object of our erotic affections is a i^er. Most adults do not (1)
 become involved sexually with children, (2) repeatedly fantasize about children when
 masturbating, (3) find pictures of naked children more erotic than pictures of naked
 adults, and (4) have to repeatedly fight off the temptation of becoming involved with
 children in a sexual or romantic way.

    In addition to yearning for a loving adult sexual relationship, almost all of us are
 aware of the fact that infants and children often elicit an emotional response from us.

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 Rather than involving feelings of lust or erotic love, however, the feelings which often well
 up internally in response to children are ordinanly ones of affection and gentleness, as
 well as a desire to nurture, cherish, and protect. It is sometimes difficult to resist the
 urge to pick up and cuddle a young infant or child. We do not ordinarily fall in love with
 children, however, in a romantic or sexual way.

     Most young people devote a great deal of time, thought, and energy towards seeking
 out a partner with whom to share affection, companionship, and physical intimacy. The
 man who, for unknown reasons, discovers that he craves that type of relationship with
 a child rather than with an adult, however, copes with life from a very different
 perspective.

     Some have argued that sexual assaults are invariably aggressive (Groth, 1979). In
 the vast majority of pedophilic acts, this is simply not so. Most pedophiles, use no
 physical force whatsoever, but instead derive pleasure from engaging in sexual activities
 with children, sometimes in a caring way (Baker et al, 1968; Berlin, 1983b). By definition,
 the issue to be explained in pedophilia is one of sexual and affectional orientation.'
 Pedophilia is not a disturbance of temperament or aggression.


                                  SEXUAL ORIENTATION:

                      PENECTOMIZED MALE R E A R E D AS A G I R L


     How is it then that sexual orientation and affectional interests are acquired? It appears
 that both life experience and constitution play a role. The role that environment can play
 was dramatically demonstrated by a tragic case reported by Money (1980) in which one
 of two genetically identifical male twins was so severely damaged at the time of
 circumcision several months after birth that a total penectomy was required. That child
 was then reared as a girl. The child's chromosomal pattern, of course, remained
 unchanged, and she has now reached her teenaged years. She has developed breasts
 by virtue of having been administered estrogens; surgically, an artificial vagina has been
 created. According to Diamond (1982), however, she nevertheless experiences
 considerable difficulty in adjusting as a female, and she is in some ways ambivalent
 about her status. Still, at age 19, this twin raised as a female apparently feels herself to
 be a woman in terms of gender identity and also expediences some level of sexual
 attraction towards age-appropriate males. Thus, although she is a woman with an XY
 rather than a XX chromosomal karyotype, as a consequence presumably of how she has
 been raised, she feel herself to be a woman and she finds men to be sexually appealed.




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                        MANY PEDOPHILES FORMER "VICTIMS"


     There are many additional examples showing that environment and life experiences
 can play at least some role in the development of gender identity and in the development
 of sexual orientation and interest. Groth (1979) and others have shown that many men
 who experience pedophilic erotic urges as adults were sexually involved with adults when
 they were children. Thus, in treating the pedophile one is in point of fact often treating
 a former "victim." One is merely treating him later on in his life after the circumstances
 of his childhood, or the intricacies of his biological constitution, have produced their
 psychological sequelae. Why sexual involvements with an adult during childhood seem
 to put some at risk of experiencing pedophilic sexual urges later on in life, but not others,
 is not known.

     Money(1980) has proposed that excessive prohibition of early sexual expression may
 also put one at risk of developing pedophilic sexual desires. He has reported that many
 men with sexual disorders have come from homes where even the slightest expression
 of sexuality, including masturbation, was severely chastised. Gaffney et al (1984a) has
 documented evidence that pedophilia may occur more frequently within certain families.

     Biology, too, can play a role in the development of sexual interests. Sexual behavior
 in humans is often a response to subjectively experienced erotic desires and fantasies.
 Although it appears that specific sexual tastes or preferences may sometimes be
 modified by virtue of early life experiences, the phenomenon of sexual desire itself is
 apparently unlearned and rooted In biology. Males do not have to be taught how to
 obtain an erection. Just as it is ture of language and dialect, once acquired sexual
 desires are not readily modified.

     It is just as reasonable to ask whether one might be put at risk of developing
 unconventional sexual interests, such as pedophilia, by virtue of the presence of certain
 biological abnormalities, as it is reasonable to ask whether one could be put at such risk
 by being exposed early on in life to certain environmental events. One way of
 addressing this issue would be to try to determine whether or not there is an increased
 prevalence of biological abnormalities of the sort thought to be related to human
 sexuality among a group of men who experience unconventional sexual interests.


                              BIOLOGICAL ABNORMALITIES


    Berlin (1983b) evaluated 41 men, all of whom met the DSM III diagnostic criteria for
 some form of paraphilia ("sexual deviation disorder") looking for the possible presence
 of biological abnormalities. The majority of these men were either pedophiles or
 exhibitionists. Although no significant abnormalities were detected in 12 of the 41, a total

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  of 63 abnormalities was found among the other 29 men. These included 7 chromosomal
  anomalities (most frequently Klinefelter's syndrome), as well as 18 abnormal levels of
  testosterone, 8 of follicle stimulating hormone, and 14 of luteinizing hormone. There
  were also 7 abnormal CT scans of the brain, 4 pathological EEC's, and 5 abnormal
  neurological examinations. Following statistical analysis, Berlin (1983b) concluded, as
  have others, that there may, indeed, be an association between the presence of certain
  kinds of biological abnormalities and the presence of unconventional kinds of sexual
  interests such as pedophilia. Recently, Gaffney and Berlin (1984) documented an
  abnormal pattern of luteinizing hormone (LH) release over time in response to the
  intravenous administration of bolus of luteinizing hormone releasing factor (LHRF) in a
  group of pedophilic patients. At the Johns Hopkins Hospital Sexual Disorders Clinic, it
  is unusual to see a man who experiences recurrent pedophilic cravings in the absence
  of (a) a significant biological abnormality, (b) a past history of sexual involvements with
  an adult during childhood or (c) both.


                     A S S E S S M E N T : DISTINGUISHING B E T W E E N
          (1) DIMINISHED MENTAL CAPACITIES, (2) PERSONALITY TRAITS,
                              AND (3) SEXUAL ORIENTATION


      Persons are sometimes referred for psychiatric evaluation because they have become
  sexually involved with a child. However, a diagnosis such as pedophilia cannot be made
  simply by considering behavior alone. Rather, for purposes of diagnosis and for proper
  treatment, one must try to appreciate the state of mind which contributed to the
  individuals' behavior.

      Like any behavior, sexual behavior with a child can be enacted for a variety of
  reasons. For example, a person with schizophrenia may behave in a particular way in
  response to hallucinations "telling him to do so," whereas the alcoholic's behavior may
  be a reflection of diminished judgment secondary to intoxication. - A mentally retarded
  individual may become involved sexually with a child (who incidentally may be of the
  same approximate mental age as he) because of the lack of availability of adults
  partners, and a lack of capacity to fully appreciate and understand the wrongful nature
  of his actions. In none of these instances would a primary diagnosis of pedophilia
  necessary apply.

     In DSM II, conditions such as pedophilia used to be considered subcategories of a
  specific personality type (i.e., the so-called antisocial personality disorder). DSM II (APA,
  1978) acknowledges that this is by no means necessarily so. Diagnosing a person as
  a pedophile says something about the nature of his sexual desires and orientation. It
  says nothing whatsoever, however, about his temperament, or about traits of character
  (such as kindness versus cruelty, caring versus uncaring, sensitive versus insensitive,
  and so on). Thus, a diagnosis of pedophilia does not necessarily mean that a person

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 is lacking in conscience, diminished in intellectual capabilities, or somehow
 "characterologically flawed." In evaluating a person who has become sexually involved
 with a child, one needs to try to determine whether the behavior in question was a
 reflection of (a) psychosis, (b) poor judgment and psychological immaturity, (c) lack of
 conscience, (d) diminished intellect, (e) intoxication, (f) a pedophilic sexual orientation,
 or (g) a combination of these plus other factors. One needs to evaluate independently,
 the nature of an individual's sexual drives, and interest, as opposed to what that person
 is like in terms of character, intellect, temperament, and other mental capacities.


                   PEDOPHILIC BEHAVIOR AND ITS RELATIONSHIP
                     TO HUMAN A P P E T I T E S AND COMPULSIONS


     Although, in order to hold persons accountable for their own actions, society tends
 to presume that individuals can invariably control their own behavior through "willpower"
 alone, this is simply not always so (Carnes, 1983). It is easy for a nonsmoker to argue
 that any smoker could stop if he or she really wanted to do so. Surely, this must be so
 in the case of the pregnant smoker, if not for her sake, then certainly for the sake of not
 abusing her unborn child. Many of those who have tried to give up smoking and failed,
 however, can appreciate the difficulty involved in trying to overcome that habit.

     Patients on kidney dialysis made thirsty by the procedure often have great difficulty
 maintaining necessary fluid restrictions, even though not doing so can be life threatening
 to them (Wirth and Folstein, 1982). The more thirsty they are made by the procedure,
 the more difficulty they experience in limiting fluid intake. The researchers who
 documented this finding concluded that limits to fluid intake set by physicians may not
 suffice because they differ from those set by the patients own physiology (Wirth and
 Folstein, 1982).

      It is easy for a person who is not tempted sexually by children to argue that any
 pedophile could stop having sex with children if he would simply make up his mind to
 do so. Admittedly, sometimes it is difficult to determine whether a person is trying his/
 her best and failing, or just not trying. This does not mean, though, that many are not
 trying. When it comes to appetites or dnves such as hunger, thirst, pain, the need for
 sleep or for sex, biological regulatory systems exist that ytiay cause an individual to
 experience desires to satisfy those hungers in ways that cannot invariably be successfully
 resisted through willpower alone. Sometimes persons may feel so discomforted by their
 cravings that they feel compelled to act in order to diminish their discomfort.

    A common source of confusion about whether or not persons can control compulsive
 or appetite-related behaviors, such as pedophilia, relates to the observation that often
 such behaviors are enacted in a premeditated fashion. A pedophile rarely approaches
 a child, for example, when a policeman is present. It is important to appreciate, however.

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  that this is not unlike the case of the cigarette smoker who may be able to temporarily
  refrain from smoking while in his doctor's office because his physician's presence causes
  a feeling to well up inside which helps him to control his behavior. This does not mean
  that that smoker will necessarily be able to break the smoking habit, though, when his
  efforts to do so depend not upon the stabilizing presence of another individual but upon
  his willpower alone.

      A major issue in trying to understand human behavior relates to whether one should
  consider a person to be (a) the passive product of life experience and constitution,
  versus (b) a conscious agent capable of transcending prior determinants. One does not
  want to excuse as "psychopathology" irresponsible behavior. On the other hand, one
  should not be too quick to label as misbehavior the compulsive sexual acts of persons
  needing help in order to be able to better control their behavior. Often a double
  standard is applied in dealing with compulsive paraphiliac types of human sexuality. If
  a person states that he is trying his best to diet, to stop smoking, or to stop compulsive
  handwashing, he is often believed and helped. If, however, a person say he needs help
  in order to be able to resist the urge to have sex with children, to expose himself
  publically, or to engage in coercive sexual acts, his claim that he cannot control himself
  through willpower alone is often dismissed. In the author's judgment, many men with
  pedophilic sexual orientations do need help in order to be able to control their behavior
  appropriately.


           TREATMENT O F PEDOPHILIA: C O N C E P T U A L CONSIDERATIONS


     Four major modalities have been proposed for treating pedophilia. They are (1)
  psychotherapy, (2) behavior therapy, (3) surgery, and (4) medication.

   Psychotherapy

      Classical psychodynamic theory assumes that all men would ordinarily develop
  conventional erotic attractions towards age-appropriate partners of the opposite sex, but
  that this does not occur in some instances because unhealthy early life experiences
  interfered with the normal process of psychological maturation. Therapy utilizes the
  process of introspection to try to figure out what went wrpng with the expectation that
  newly acquired insights will then facilitate the problem being rectified.

      It is doubtful that individuals can come to fully understand the basis of their own
  sexual interests through the process of introspection alone. The average man probably
  cannot figure out simply by thinking about it why he prefers women rather than men.
  Similarly, It is not certain that the pedophilic individual can figure out the basis of his own
  sexuality. Furthermore, even if he could, knowing why one is hungry - be it for food or
  for children, doesn't make one any less hungry, nor does it make it any easier for one

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to resist temptation. Finally, there is little convincing evidence showing that the
traditional psychotherapies alone are an effective means for treating pedophilia.


Behavior Therapy

     Behavior therapists tend to be less concerned with the historical antecedents of
pedophilia than with the question of what can be done about it. The feature common
to most behavioral approaches is an attempt to extinguish erotic feelings associated with
children, while simultaneously teaching an individual to become sexually aroused by
formerly non-arousing age appropriate partners. Although in laboratory situations,
behaviorists have shown that some pedophilic men no longer demonstrate physiological
evidence of sexual arousal when looking at pictures of naked children, and that they can
begin to show arousal to age-appropriate stimuli, it has not been well established that
such changes invariably carry over into the non-laboratory situation (Marks, 1981). Most
of us can appreciate how difficult it would be to try and stop feeling the sexual attractions
we have experienced as natural throughout our lives. There is no reason to believe that
it is any easier for the fixated homosexual pedophile to learn to lose his interest in boys
and to become sexually aroused by women, than it would be for the average male to
lose his interest in women and to instead begin lusting for young boys.


Punishment

    Another type of "behavior therapy" that has been tried is punishment, usually in the
form of incarceration. Although society sometimes chooses to punish for reasons other
than behavior modification, behavior modification is often one of the intended goals.
There is however nothing about being in prison that can change the nature of a
pedophile's sexual orientation or that can increase his ability to resist acting upon
improper sexual temptations.


Surgery

    Two types of surgery have been proposed as a treatment for pedophilia. They are
(1) stereotactic neurosurgery, and (2) removal of the testes. Neurosurgery for this
purpose is still investigational and will not be discussed here. Its rationale has been
explored in a review article by Freund (1980).

   Removal of the testes (castration) has been suggested as a treatment for pedophilia
because the testes are the major source of testosterone production in the body. There
has been much confusion about castration about castration, a procedure which does not
remove the penis, but which instead removes the testes in order to lower testosterone.



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    Testosterone is an important liormone related to human sexuality and gender
differences. If the testes of a male fail to produce adequate amounts during early
embryonic life, he will be born with the external anatomical appearance of a female.
Thus, testosterone causes external anatomical masculinization of the fetus, and also
produces certain changes in the endocrinological functioning of the male brain (Witson
et al, 1981). The marked increase in testosterone production which occurs at the time
of puberty in males is associated with the development of increased pubic and facial
hair, deepening of the voice, an increase of muscle mass, and a marked increase in
sexual libido. The idea of lowering testosterone in the case of the pedophile is to try to
decrease the intensity of his sexual cravings, which are for children.

     Some critics have argued that castrating the "sex offender," which involves removal
of the testes, and not the penis, is like cutting off the hand of the thief. This is in no way
so. Cutting-off the penis would be analogous to cutting off the hand of the thief. A male
animal whose penis has been surgically removed will still try to mount a female in heat,
suggesting that the penectomized male is still sexually motivated, though unable sexually
to perform. A castrated male, on the other hand, whose penis is intact can perform
sexually but will ordinarily not attempt to mount a female in heat, suggesting that he is
no longer motivated to do so.

    In animals, lowering testosterone by means of removing the testes usually eventually
leads to a total cessation of virtually all sexually motivated behavior, although sometimes
this may take as long as two years to occur (Freund, 1980). In humans, the relationship
between very low testosterone levels and low sexual libido is also fairly well established.
This evidence comes from a variety of sources including studies on hypogonadal men,
data from persons with adrenogenital disorders, studies on drugs that lower testosterone
as side effects, and from several well controlled studies looking at the effects of
administering testosterone in an attempt to increase sexual libido (Ellis, 1982, Kwan et
al, 1983; Sturup, 1972; Carney et al, 1978).


                        T H E R A P E U T I C S E X DRIVE REDUCTION


    In an article entitled, 'Therapeutic Sex Drive Reduction," Freund (1980) reviewed data
regarding removal of the testes in humans as a means of trying to help some men gain
better control over their sexual behavior. In one study ^in Denmark, Sturup (1972)
reported upon a thirty-year investigation of 900 castrated "sex offenders," many of whom
were pedophiles. Involving over 4,000 follow-up examinations. He documented less than
a 3 percent recidivism rate. Ficher Van Rossum in Holland, Kinmark and Oster in
Sweden, and Cornu in Switzerland reported comparable findings (Freund, 1980). The
Study in Holland involved 237 men with a 1.3 percent recidivism.




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    In the Swiss study, there was a 5.8 percent recidivism rate among 120 men following
castration, with a 52 percent recidivism rate in the noncastrated control group. Follow-
ups ranged from five to thirty years. Bremmer (1959) reported a 58 percent recidivism
rate in the five years phor to treatment, in a group of men who showed only a 7.3
percent recidivism rate during the five years post-surgery. Thus, the surgical method of
lowering testosterone did seem to enable many men to better control their sexual
behaviors. Furthermore, many of these men did not lose their capacity to perform
sexually following castration.


C Y P R O T E R O N E A C E T A T E AND M E D R O X Y P R O G E S T E R O N E ACETATE

    Today it is no longer necessary to perform castration in order to reduce testosterone
levels. Rather, this can now be done pharmacologically in a graduated way without the
physical or psychological trauma of surgery. In Europe and the Scandinavian countries,
cyproterone acetate has been used for this purpose, and there are several "blind" as well
as "non-blind" studies supporting its effectiveness (Laschet and Laschet, 1976; Money
et al, 1976). In the United States, since Money first began doing so in 1967 in
conjunction with the treatment of pedophilia, the drug most often employed as a
pharmacological method for lowering testosterone has been medroxyprogesterone
acetate. Depo-Provera (Money Et al, 1976, Berlin & Meinecke, 1981; Berlin & Coyle,
1981, Berlin, 1981, Berlin & Schaerf, 1984).

   Medroxyprogesterone acetate (MPA) can be injected intramuscularly once per week.
There it binds to the muscle, from where it Is then gradually released over the course of
several days into the blood stream. At this time, the initial starting dosage used in The
Johns Hopkins Clinic has been 500mg IM once per week of the lOOmg per cc
concentration. No more than 250cc is given into a single injection site.

    Major side effects of MPA have been weight gain, and in some cases hypertension.
Mild lethargy, cold sweats, nightmares, hot flashes, and muscle aches have also been
reported. The drug, which is not feminizing, may cause an increased incidence of breast
cancer in female beagle dogs, and of uterine cancer in monkeys. It has been used in
over eighty countries of the world as a female contraceptive, supported in its use for this
purpose by the World Health Organization. No studies showing an increased risk of
cancer in males (either humans or animals) have been reported. Two recent articles, one
in Science (Sun, 1982) and the other in the Journal of the American Medical Association
(Rosenfield et al, 1983), failed to find convincing evidence that MPA is carcinogenic in
humans.

   There is no doubt that MPA consistently decreases serum testosterone levels
significantly. This can be confirmed by means of a simple blood test. The idea of using
MPA in the case of the pedophile is to try to decrease the intensity of his sexual cravings.



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 thereby, hopefully, making it easier for him to successfully resist unwanted temptations.
 The drug cannot change the nature of his sexual orientation.

     What is not yet fully established regarding the use of MPA is optimal dosage, which
 of the paraphilias will respond most adequately, long-term side effects, and precise long-
 term recidivism percentages. There is little reason to believe, however, that recidivism
 should be any higher than those low rates documented when surgical removal of the
 testes was used as a method of lowering testosterone. Of more than 70 men treated at
 the Johns Hopkins Clinic with MPA over the past three years for some form of paraphilia
 (mostly pedophilia and exhibitionism), less than 10 percent have relapsed. In addition,
 compliance rates have been better than 90 percent.

      There has been some concern about whether MPA should be given to pedophilic
 men who are on legal probation. In the author's opinion, if it is not an effective drug,
 then it should not be used at all. If it is effective, as it often seems to be, then it is
 difficult to see why a person should be denied the opportunity to take it just because he
 is on probation or perhaps even incarcerated. Some incarcerated men report that MPA
 frees them from intrusive, obsessional sexual preoccupations.

     MPA is not a cure. It is not a guarantee. It is not a punishment. Some pedophiles
 report being unable to successfully resist sexual temptations through willpower alone,
 even with the assistance of professional counseling. Such individuals should be afforded
 the opportunity to see whether or not MPA confers upon them an increased capacity for
 self-control.



                 RATIONALE FOR U S E O F MPA PLUS C O U N S E L I N G


     Some critics have argued that psychotropic drugs such as MPA may in some ways
 be "mind controlling." The legitimate medical indications for use of psychotropic drugs
 are (a) to decrease suffering ( as in the case of antidepressant medications),, (b) to
 restore function (as in the case of antipsychotic medications:), or (c) to increase rather
 than decrease a person's capacity to successfully exercise self-control as in the case of
 MPA (Berlin, 1983a).                                       •

     Most pedophiles receiving MPA also attend group counseling sessions. These are
 similar to the type often used with alcoholics. There they are expected to acknowledge
 being tempted to do something improper. They then discuss among themselves
 strategies intended to help enable them to resist such temptations successfully. This
 includes discussions of whom to call, what early warning signs to look for, and what
 situations to avoid. The groups provide both peer pressure and peer support.



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     When a person desires sex or falls in love, it is often easy to become convinced that
the relationship is good and healthy and not harmful or wrong. Such self-deception may
at times be easy for the pedophilic individual in light of the fact that sex with children,
though wrong, may not in every instance be damaging (Standfort, 1984). Some children
may enjoy certain sexual and non-sexual aspects of their relationships with an adult, thus
facilitating self-deception on the part of the adult. Treatment, therefore, may have to
involve helping a person stop rationalizing, as well as helping him to develop strategies
for more successfully resisting sexual and affectional temptations.



           ETHICAL CONSIDERATIONS AND CONCLUDING COMMENTS


    A few hundred years ago in New England, misguided parishioners burned at the
stake women whose behaviors they feared or found offensive. Persons whom we might
now treat in psychiatric hospitals were shackled, often for the better part of a lifetime.
In the 1700s, the most common cause for execution in the British Royal Navy was the
crime of "buggery," homosexual behavior between consenting adults (Gilbert, 1976). In
each of these instances, many good people failed to appreciate the wrongful nature of
these reactions. Today, the person with a pedophilic sexual onentation is often ridiculed,
maligned and disparaged, with little concern about him as a person. It is simply taken
for granted that the pedophile is deserving of scorn, with little more thought given to
such a proposition than was given several hundred years ago to the notion that lepers
should be exiled. It is difficult contemporarily to be fully aware of one's own society's
assumptions.

      Today, most of us would probably accept as a given the belief that any man who
becomes sexually intimate with a child must simply be a callous predator, unwilling to
reflect upon the possibility that such an individual might have a genuine concern for the
well being of children. Labels such as "molester" and "abuser" are readily applied with
little forethought. After all, how could anyone who really cares about a child's well being
show so little concern and manifest such an abuse of trust as to become sexually
involved? There can be little doubt that children are too unprepared and too vulnerable
to fully appreciate the consequences of sexual involvement with an adult. However,
imagine what life must be like for the man who finds that he never experiences feelings
of erotic arousal or romantic love towards adults, as much as he might wish that he
could, but who recurrently lusts for or falls in love with young boys or gids in an erotic,
sensual way.

    To provide treatment to persons with pedophilic sexual orientations in no way reflects
a lack of concern for young children. One can treat children and treat pedophiles as
well. These are not mutually exclusive choices. In counselling a child, it may help if that
child understands that the pedophilic individual may genuinely have cared about him.

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even though that caring were expressed in an improper way. Preventive treatment
cannot be completely accomplished without dealing with the pedophile himself. To the
extent that treatment helps the pedophile gain better self-control, both his interests and
society's interests are well served.

     Although it is not the pedophiles fault that he has the sexual onentation that he has,
it is his responsibility to deal with his sexuality in a manner that does not put innocent
children at risk. However, in order for him to be able to do this and to be held
accountable by society, adequate treatment facilities must be made available, facilities
where a person can seek help without fear of stigmatization, ridicule, retaliation, or
unwarranted disdain. Only under such circumstances can one expect an individual to
talk candidly about the innermost aspects of his own sexuality. This requires trust.

    The values that we try to in still in our children are important. Almost two thousand
years ago as an outraged crowd attempted to stone to death a woman whose sexual
behavior they considered offensive, one man stepped forward to stop the retribution,
speaking against such revenge while espousing values such as compassion,
understanding, forgiveness, and reformation. He asked that persons be judged not
simply by their behavior but with some appreciation for their humanity. Perhaps that
message still goes unheeded today when it comes to the issue of how we deal with
some of those who have sexual and affectional orientations of a sort that frighten us, and
that differ from our own.



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